Case 7:20-cv-08711-VB Document 29

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

x
YOLISBETH MARMOL, :
Plaintiff,
v.
KRASDALE FOODS, INC. and ALPHA 1
MARKETING CORP.,
Defendants.
x

 

The Court has been advised that the parties have settled this case. Accordingly, it is

hereby ORDERED that this action is dismissed without costs, and without prejudice to the right

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ORDER

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to restore the action to the Court’s calendar, provided the application to restore the action is

made by no later than December 6, 2021. To be clear, any application to restore the action must

be filed by December 6, 2021, and any application to restore the action filed thereafter may be

denied solely on the basis that it is untimely.

All scheduled conferences or other scheduled court appearances are cancelled. Any

pending motions are moot.
The Clerk is instructed to close this case.

Dated: November 5, 2021
White Plains, NY

SO ORDERED:

Vl

Vincent L. Briccetti
United States District Judge

 
